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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)731-4841
     Email: Rusklaw@aol.com
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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                      ) Case No.: CR.S. 07-126 EJG
     United States of America,          )
 9                                      ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,              ) STATUS CONFERENCE
10                                      )
          vs.                           ) Court: Hon. Judge Edward J.
11                                      ) Garcia
                                        ) Time:   10:00 a.m.
12   Alice Petersen, et.al.             ) Date:   March 7, 2008
                                        )
13              Defendants
14

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16        Defendants Jamal Gill and Javon Gill are charged in an indictment
17   alleging five counts of violations of 21 U.S.C. §§s 841(a)(1) –
18   Distribution and Conspiracy to Distribute Cocaine Base; Possession of
19   Cocaine Base with Intent to Distribute; and Maintaining a Place in
20   violation of 21 U.S.C. § 856(a)(1).      A status conference was
21   previously set for February 1, 2008.       The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to March 7, 2008, if
24   that date is available with the Court.
25        The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
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     Dated: January 4, 2008           Respectfully submitted,
 1

 2

 3                                    __/s/ Shari Rusk___
                                      Shari Rusk
 4                                    Attorney for Defendant
                                      Javon Gill
 5

 6                                    /s/ Steve Bauer
                                      Steve Bauer
 7                                    Attorney for Defendant
                                      Jamal Gill
 8

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10

11   Dated: January 4, 2008           ___ Jill Thomas________
                                      /s/ Jill Thomas
12                                    Assistant United States Attorney
13

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15
                                      ORDER
16

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          IT IS SO ORDERED.   The Court finds excludable time through March
18
     7, 2008, based on Local Code T4, giving counsel reasonable time to
19
     prepare.
20
     DATED: January 7, 2008
21
                                      /s/ Edward J. Garcia
22                                    Hon. Edward J. Garcia
                                      United States District Court
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